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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                                 )
             In re:                                                              ) Chapter 11
                                                                                 )
             PROTERRA INC, et al.,1                                              ) Case No. 23-11120 (BLS)
                                                                                 )
                                       Debtors.                                  ) (Jointly Administered)
                                                                                 )
                                                                                 ) Response Deadline: Jan. 19, 2024 at 4:00 p.m. (ET)


                                                DEBTORS’ FIRST NOTICE OF
                                                 SATISFACTION OF CLAIMS

                      PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES
                       AND THEIR SATISFIED CLAIMS IDENTIFIED ON EXHIBITS 1 AND 2,
                                          ATTACHED HERETO.

         TO:          (A) THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF
                      DELAWARE; (B) COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
                      CREDITORS; (C) COUNSEL TO THE FIRST LIEN AGENT; (D) COUNSEL TO THE
                      SECOND LIEN AGENT; (E) THE CLAIMANTS WHOSE CLAIMS ARE THE
                      SUBJECT OF THIS NOTICE; AND (F) ANY PARTY THAT HAS REQUESTED
                      NOTICE PURSUANT TO BANKRUPTCY RULE 2002.

                            The above-captioned debtors and debtors in possession (together, the “Debtors”)

         hereby file this notice (this “Notice”) identifying certain claims scheduled or filed in these chapter

         11 cases (the “Chapter 11 Cases”) that have been satisfied in full (the “Fully Satisfied Claims”) or

         in part (the “Partially Satisfied Claims” and, together with the Fully Satisfied Claims, the “Satisfied

         Claims”) after the Petition Date. 2 A list of the Fully Satisfied Claims is attached hereto as

         Exhibit 1 and a list of the Partially Satisfied Claims is attached hereto as Exhibit 2. In support of

         this Notice, the Debtors respectfully represent as follows:



         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
               number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
               Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
         2
               Capitalized terms used but not yet defined herein shall have the meaning ascribed to such terms below.
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                                                      BACKGROUND

         A.       General Background

                          1.       On August 7, 2023 (the “Petition Date”), each of the Debtors commenced a

         voluntary case under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the

         “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the

         “Court”). The Debtors are authorized to operate their business and manage their properties as

         debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                          2.       August 25, 2023, the United States Trustee for the District of Delaware (the

         “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors (the “Committee”) in

         these chapter 11 cases [Docket No. 133].3 No request has been made for the appointment of a

         trustee or an examiner.

                          3.       Additional information relating to the Debtors’ businesses, their capital

         structure, and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the

         Declaration of Gareth T. Joyce in Support of Chapter 11 Petitions and First Day Pleadings

         [Docket No. 16].

         B.       Claims Background

                          4.       On August 10, 2023, the Court entered an order [Docket No. 61] authorizing

         the Debtors’ retention of Kurtzman Carson Consultants LLC (“KCC”) as claims and noticing agent.

         As such, KCC is authorized to, among other things, receive, maintain, docket, and otherwise

         administer proofs of claim filed in the Chapter 11 Cases.

                          5.       On September 5, 2023, the Court entered the Order Establishing Bar Dates

         for Filing Proofs of Claim and Approving the Form and Manner of Notice Thereof [Docket No.


         3
              On September 21, 2023, the U.S. Trustee appointed an additional member to the Committee. [Docket No. 268].
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         187] (the “Bar Date Order”), establishing (i) November 13, 2023 (the “General Bar Date”) as the

         last date for all creditors, other than governmental units, holding a claim against one or more of

         the Debtors to file and serve a written proof of claim for payment of any such claim, and

         (ii) February 3, 2024 (the “Governmental Bar Date”) as the last date for all governmental units

         holding a claim against one or more of the Debtors to file and serve a written proof of claim for

         payment of any such claim. Notice of the General Bar Date and the Governmental Bar Date was

         provided by mail and publication in accordance with the procedures outlined in the Bar Date Order.

                          6.     On October 6, 2023, the Debtors filed their Schedules of Assets and

         Liabilities and Statements of Financial Affairs [Docket Nos. 336-339] (the “Schedules and

         Statements”).

                          7.     In the ordinary course of business, the Debtors maintain books and records

         that reflect, among other things, the nature and amount of the liabilities owed to their creditors.

         As part of the Chapter 11 Cases, the Debtors filed the Schedules and Statements reflecting the

         obligations owed to their creditors as of the Petition Date. The Debtors, together with their

         advisors, have been engaged in a systematic review of the proofs of claim filed in the Chapter 11

         Cases and the Schedules and Statements, working diligently to review, compare, and reconcile

         such claims against the Debtors’ books and records.

                               CLAIMS SATISFIED AFTER THE PETITION DATE

                          8.     The Debtors have reviewed their books and records and have determined

         that the Satisfied Claims listed on Exhibits 1 and 2 attached hereto were satisfied in full or in part,

         respectively, subsequent to the Petition Date, (i) through payments made by the Debtors pursuant

         to certain “first-day” orders entered in these Chapter 11 Cases, (ii) through credits, as reflected in

         the Debtors’ books and records, or (iii) as otherwise set forth on Exhibits 1 and 2 attached hereto.


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                         9.      Accordingly, the Debtors intend to have KCC designate on the claims

         register in these Chapter 11 Cases that the Satisfied Claims have been previously satisfied, as

         provided for herein and on Exhibits 1 and 2 attached hereto. Out of an abundance of caution,

         however, the Debtors are serving this Notice on all parties holding the Satisfied Claims, and

         providing such parties with an opportunity to respond to the Debtors’ position that such amounts

         have been satisfied in full or in part, as applicable.

                         10.     Any party disputing the Debtors’ position that a particular Satisfied

         Claim has been satisfied as provided for herein and on Exhibits 1 and 2 attached hereto must

         file a written response with the Clerk of the United States Bankruptcy Court for the District

         of Delaware, 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801, and serve such

         response on the undersigned counsel to the Debtors, on or before January 19, 2024 at

         4:00 p.m. (ET). The Debtors will then make a reasonable effort to review the Satisfied Claim

         with the claimant to determine whether any asserted amounts were not, in fact, satisfied. In the

         event that the parties are unable to reach a resolution, the Debtors anticipate that a hearing will be

         held on the matter at a date and time to be determined by the Debtors, in their discretion, subject

         to the availability of the Court.

                         11.     Questions concerning this Notice should be directed to the undersigned

         counsel to the Debtors. Claimants should not contact the Clerk of the Court to discuss the merits

         of their Satisfied Claims or this Notice.

                                             RESERVATION OF RIGHTS

                         12.     The Debtors reserve any and all rights to amend, supplement or otherwise

         modify this Notice and the Schedules and Statements and to file additional notices of this nature

         with respect to any and all (i) claims filed in these Chapter 11 Cases, and (ii) amounts scheduled


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         against the Debtors’ estates in the Schedules and Statements. The Debtors also reserve any and

         all rights, claims, and defenses with respect to any and all of the Satisfied Claims, and nothing

         included in or omitted from this Notice shall impair, prejudice, waive or otherwise affect any such

         rights, claims and defenses.


             Dated: January 5, 2024                 Respectfully submitted,
                    Wilmington, Delaware
                                                    YOUNG CONAWAY STARGATT &
                                                    TAYLOR, LLP

                                                    /s/ Shella Borovinskaya
                                                    Pauline K. Morgan (No. 3650)
                                                    Andrew L. Magaziner (No. 5426)
                                                    Shella Borovinskaya (No. 6758)
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                                                             - and -

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                                                    Counsel to the Debtors and
                                                    Debtors in Possession



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                                      EXHIBIT 1

                                 Fully Satisfied Claims




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                                                                                Fully Satisfied Claims

                                                                     Schedule
                      Name of Claimant                Date Filed     Number        Claim Amount                                                Reason
Allegis Group Holdings, Inc.                       N/A             3293716       $      90,322.17 Debtors satisfied claim under first day orders on 11/01/23 in the amount of $72,207.28
                                                                                                  (Payment No. 553996). Additionally, there is a credit with the Claimant on the Debtors' Books
                                                                                                  and Records in the amount of $18,114.89.
Alt Solutions, Inc.                                N/A             3293720       $      18,941.92 Debtors satisfied claim under first day orders on 10/06/23 in the amount of $1,741.92
                                                                                                  (Payment No. 489677), on 10/19/23 in the amount of $8,800.00 (Payment No. 489921), and
                                                                                                  on 10/19/2023 in the amount of $8,400.00 (Payment No. 489921).
American Express Travel Related Services Company   N/A             3293724       $      50,967.10 Debtors satisfied claim under first day orders on 11/01/23 in the amount of $6,281.30
                                                                                                  (Payment No. 653285), and on 11/01/23 in the amount of $44,685.80 (Payment No. 653289).

Aubin Industries, Inc.                             N/A             3293744       $         3,084.44 Credits with Claimant on Debtors' Books and Records in the amount of $3,084.44 (Invoice No.
                                                                                                    74925, Invoice No. 74926, and Invoice No. 74928).
Baycom Inc                                         N/A             3293752       $            35.00 Credit with Claimant on Debtors' Books and Records (Invoice No. CREDT000000002121).

Bendix CVS LLC                                     N/A             3293754       $        39,423.66 Debtors satisfied claim under first day orders on 10/25/23 (Payment No. 489957).

Birlasoft Solutions Inc.                           N/A             3293758       $        30,500.25 Debtors satisfied claim under first day orders on 10/09/23 (Payment No. 489705).

Bucher Hydraulics AG                               N/A             3293779       $       432,963.00 Satisfied by third party through a Tri-Party Agreement.

Cogency Global Inc.                                N/A             3293809       $         3,227.67 Credit with Claimant on Debtors' Books and Records (Invoice No. 101082390).

Commonwealth of Massachusetts                      N/A             3293814       $             12.81 Debtors satisfied claim under first day orders on 11/01/23 (Payment No. 653301).

Comptroller of Maryland                            N/A             3293817       $            153.00 Debtors satisfied claim under first day orders on 11/01/23 (Payment No. 653302).

Cubic Transportation Systems, Inc.                 N/A             3293835       $        28,353.00 Credit with Claimant on Debtors' Books and Records (Invoice No. 90142474).

Cummins Inc.                                       N/A             3293837       $         4,139.23 Credit with Claimant on Debtors' Books and Records (Invoice No. L6-61042).

Danfoss Power Solutions (US) Company               N/A             3293840       $       968,795.06 Satisfied by third party through a Tri-Party Agreement.

Department of Revenue State of Washington          N/A             3293847       $         1,627.87 Debtors satisfied claim under first day orders on 11/01/23 (Payment No. 653314).

Expeditors Canada Inc.                             N/A             3293891       $         1,017.60 Debtors satisfied claim under first day orders on 11/02/23 (Payment No. 553983).

Expeditors Tradewin, LLC                           N/A             3293893       $            675.00 Credit with Claimant on Debtors' Books and Records (Invoice No. Credit 52203).

Financial Intelligence, LLC                        N/A             3293902       $        20,596.38 Debtors satisfied claim under first day orders on 10/19/23 (Payment No. 489922).

Globalization Partners                             N/A             3293926       $        65,100.38 Debtors satisfied claim under first day orders on 12/01/23 (Payment No. 653340).

Great Lakes Rubber Portland Inc.                   N/A             3293932       $        14,374.42 Debtors satisfied claim under first day orders on 10/01/23 (Payment No. 553945).

Greater Bridgeport Transit Authority               N/A             3293933       $             15.00 Debtors satisfied claim under first day orders on 10/26/23 (Payment No. 352964).

GT Development Corporation                         N/A             3293940       $           687.84 Credits with Claimant on Debtors' Books and Records in the amount of $687.84 (Invoice
                                                                                                    329878, and Invoice No. CM-26227).
IEWC Corp.                                         N/A             3293963       $         8,886.14 Debtors satisfied claim under first day orders on 11/01/23 (Payment No. 554012).

Intervision Systems LLC                            N/A             3293979       $            405.02 Credit with Claimant on Debtors' Books and Records (Invoice No. CM-INV0027229).

Keolis Transit Services, LLC                       N/A             3294006       $            162.00 Debtors satisfied claim under first day orders on 10/26/23 (Payment No. 352966).

Keyence Corporation of America                     N/A             3294008       $         7,969.03 Credits with Claimant on Debtors' Books and Records in the amount of $7,969.03 (Invoice No.
                                                                                                    1002946915, and Invoice No. 1002980108).
Labrador Regulated Information Transparency Inc.   N/A             3294015       $        70,980.00 Debtors satisfied claim under first day orders on 12/12/23 (Payment No. 554051).

Laurie & Brennan, LLP                              N/A             3294024       $            257.50 Credit with Claimant on Debtors' Books and Records (Invoice No. 20568Credit).

Lee Spring Company LLC                             N/A             3294027       $         2,943.05 Debtors satisfied claim under first day orders on 10/12/23 (Payment No. 489721).

Lift-U (Hogan Manufacturing)                       N/A             3294035       $        31,500.00 Debtors satisfied claim under first day orders on 09/18/23 (Payment No. 489342).

Mobile Communications America, Inc.                N/A             3294072       $         2,391.55 Credits with Claimant on Debtors' Books and Records in the amount of $2,391.55 (Invoice No.
                                                                                                    557001859-1, and Invoice No. 557001995-1).
National Instruments Corporation                   N/A             3294086       $         1,380.28 Credit with Claimant on Debtors' Books and Records (Invoice No. 3684459).

Ningbo Xusheng Group Co., Ltd.                     N/A             3294090       $       233,388.00 Credits with Claimant on Debtors' Books and Records in the amount of $233,388.00 (Invoice
                                                                                                    No. Wire 9-21-23, and Invoice No. Wire 9-26-23).
Palantir Technologies Inc.                         N/A             3294105       $       128,071.23 Debtors satisfied claim under first day orders on 11/01/23 (Payment No. 554002).

Pro-Dec.Com                                        N/A             3294127       $             15.00 Credit with Claimant on Debtors' Books and Records in the amount of (Invoice 1104).

SCTAC Board Of Directors                           N/A             3294176       $            584.68 Debtors satisfied claim under first day orders on 11/09/23 (Payment No. 490295).

Timothy D. Tafrow Electric, LLC.                   N/A             3294247       $        24,612.50 Debtors satisfied claim under first day orders on 09/01/23 (Payment No. 553812).
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US Prototype, Inc.                              N/A             3294280       $       9,600.00 Debtors satisfied claim under first day orders on 10/04/23 in the amount of $4,800.00
                                                                                               (Payment No. 489667). Additionally, there is a credit with the Claimant on the Debtors' Books
                                                                                               and Records in the amount of $4,800.00 (Invoice No. E23051200).
V-Soft Consulting Group, Inc.                   N/A             3294301       $       4,059.35 Debtors satisfied claim under first day orders on 11/17/23 (Payment No. 557013).


                                                                      Claim     Administrative
                    Name of Claimant               Date Filed        Number     Claim Amount                                                 Reason
Carbon Supply Chain Management LLC              8/11/2023       16            $       20,151.50 Debtors satisfied claim under first day orders on 11/06/23 (Payment No. 490070).

Endochem LLC                                    8/11/2023       2             $     138,690.45 Debtors satisfied claim under first day orders on 08/25/23 in the amount of $52,254.45
                                                                                               (Payment No. 489137), on 09/01/23 in the amount of $21,609.00 (Payment No. 553815), and
                                                                                               on 09/07/23 in the amount of $64,827.00 (Payment No. 489197).
Era-Contact USA, LLC                            10/2/2023       192           $      22,000.00 Debtors satisfied claim under first day orders on 09/14/23 (Payment No. 553874).




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                                    EXHIBIT 2

                             Partially Satisfied Claims




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                                                                                                 Partially Satisfied Claims

                                                                     Schedule                                                 Modified Claim
                         Name of Claimant             Date Filed     Number         Claim Amount    Satisfied Amount            Amount                                                      Reason
ABB E-Mobility Inc.                                 N/A            3293705      $        105,062.06 $       11,085.00 $             93,977.06 Debtors partially satisfied claim under first day orders on 10/19/23 (Payment No. 487788).

AT&T (Box 5019)                                     N/A            3293737      $        10,588.21 $          2,278.10    $          8,310.11 Debtors partially satisfied claim under first day orders on 01/03/24 in the amount of
                                                                                                                                              $1,095.50 (Payment No. 353054). Additionally, there are credits with the claimant on the
                                                                                                                                              Debtors' Books and Records in the amount of $1,182.60 (Invoice No. 171-798-4015-001, and
                                                                                                                                              Invoice No. 831-001-2071-645).
Auto Motion Shade Inc.                              N/A            3293746      $         4,311.40   $        2,251.60    $          2,059.80 Credit with Claimant on Debtors' Books and Records (Invoice No. CN2310086B).

Commercial Furniture Interiors, LLC                 N/A            3293812      $           800.00 $            645.16 $               154.84 Debtors partially satisfied claim under first day orders on 10/19/23 (Payment No. 489852).

Cross Company                                       N/A            3293831      $       507,049.36 $         97,474.24 $           409,575.12 Debtors partially satisfied claim under first day orders on 11/29/23 in the amount of
                                                                                                                                              $96,274.24 (Payment No. 490549). Additionally, there is a credit with Claimant on the
                                                                                                                                              Debtors' Books and Records in the amount of $1,200.00 (Invoice No. CM111661).
Culligan of the Piedmont                            N/A            3293836      $         3,063.04   $        1,482.11    $          1,580.93 Debtors partially satisfied claim under first day orders on 10/06/23 (Payment No. 489682).

Dakota Software                                     N/A            3293839      $         1,631.25   $          259.85 $             1,371.40 Debtors partially satisfied claim under first day orders on 12/14/23 (Payment No. 490799).

De Lage Financial Services, Inc.                    N/A            3293841      $        15,376.00 $          1,551.37    $         13,824.63 Debtors partially satisfied claim under first day orders on 01/03/24 (Payment No. 491031).

Dell Financial Services LLC                         N/A            3293844      $        44,783.75 $            682.78 $            44,100.97 Debtors partially satisfied claim under first day orders on 10/10/23 in the amount of $228.03
                                                                                                                                              (Payment No. 489857), on 10/12/23 in the amount of $6.46 (Payment No. 489744), on
                                                                                                                                              11/02/23 in the amount of $33.86 (Payment No. 490124), and on 11/09/23 in the amount of
                                                                                                                                              $414.43 (Payment No. 490241).
Delta Dental of Missouri                            N/A            3293846      $        43,155.23 $         10,811.52 $            32,343.71 Debtors partially satisfied claim under first day orders on 11/01/23 (Payment No. 653272).

Dialight Corporation                                N/A            3293850      $        24,296.48 $          9,619.58    $         14,676.90 Debtors partially satisfied claim under first day orders on 11/09/23 in the amount of $483.56
                                                                                                                                              (Payment No. 490244). Additionally, there are credits with the Claimant on Debtors' Books
                                                                                                                                              and Records in the amount of $9,136.02 (Invoice No. 77124, Invoice No. 77125, Invoice No.
                                                                                                                                              77126, and Invoice No. 77174).
Echo Engineering & Production Supplies, Inc.        N/A            3293871      $         6,018.68   $          534.61 $             5,484.07 Credit with Claimant on Debtors' Books and Records (Invoice No. CN045556).

Elite Electronic Engineering Inc                    N/A            3293877      $        18,460.00 $         12,780.00 $             5,680.00 Debtors partially satisfied claim under first day orders on 11/09/23 (Payment No. 490247).

Ephesians Three Twenty Realty, LLC                  N/A            3293883      $           974.45 $            785.85 $               188.60 Debtors partially satisfied claim under first day orders on 10/05/23 (Payment No. 489671).

Expeditors International of Washington Inc          N/A            3293892      $       133,872.88 $        117,912.88 $            15,960.00 Debtors partially satisfied claim under first day orders on 11/01/23 (Payment No. 553982).

Gems Sensors, Inc.                                  N/A            3293914      $        14,524.66 $            166.47 $            14,358.19 Credit with Claimant on Debtors' Books and Records (Invoice No. 63882).

Hanover Displays                                    N/A            3293944      $         8,456.62   $            21.62 $            8,435.00 Credit with Claimant on Debtors' Books and Records (Invoice No. FTC23000019S).

Heritage-Crystal Clean                              N/A            3293949      $        47,145.10 $            270.00 $            46,875.10 Credit with Claimant on Debtors' Books and Records (Invoice No. CM-17979368).

Huber+Suhner, Inc                                   N/A            3293954      $        96,460.11 $         57,444.60 $            39,015.51 Credit with Claimant on Debtors' Books and Records (Invoice No. 5400003496).

Hydradyne LLC                                       N/A            3293958      $        72,079.83 $            434.30 $            71,645.53 Credit with Claimant on Debtors' Books and Records (Invoice No. 513125693).

Industrial Fabricators, Inc.                        N/A            3293968      $        19,314.82 $          1,627.12    $         17,687.70 Credit with Claimant on Debtors' Books and Records (Invoice No. 882452).

Kelley Engineering, LLC                             N/A            3294003      $        44,216.90 $         30,853.15 $            13,363.75 Debtors partially satisfied claim under first day orders on 10/04/23 (Payment No. 489665).

Kenson Plastics Inc                                 N/A            3294005      $       126,425.00 $         71,640.38 $            54,784.62 Debtors partially satisfied claim under first day orders on 10/09/23 in the amount of
                                                                                                                                              $35,848.22 (Payment No. 489711), and on 10/17/23 in the amount of $35,792.16 (Payment
                                                                                                                                              No. 489826).
Lehigh Outfitters, LLC                              N/A            3294028      $         3,367.85   $          482.81 $             2,885.04 Credits with Claimant on Debtors' Books and Records in the amount of $482.81 (Invoice No.
                                                                                                                                              K470464, Invoice No. K500140, Invoice No. K506308, and Invoice K513031).
LEM U.S.A., Inc                                     N/A            3294029      $        25,164.07 $          3,177.28    $         21,986.79 Credit with Claimant on Debtors' Books and Records (Invoice No. 63882).

Littelfuse, Inc.                                    N/A            3294038      $         2,612.00   $          104.48 $             2,507.52 Credit with Claimant on Debtors' Books and Records (Invoice No. 117020965).

Luminator Technology Group Global, LLC              N/A            3294043      $       352,346.72 $        211,415.72 $           140,931.00 Debtors partially satisfied claim under first day orders on 10/05/23 (Payment No. 553965).

Madland Diesel Fleet And Service                    N/A            3294045      $         4,468.79   $          300.00 $             4,168.79 Credit with Claimant on Debtors' Books and Records (Invoice No. 14001359).

Mica Electrical Material (Luhe) Co., Ltd.           N/A            3294063      $       136,602.19 $         28,234.38 $           108,367.81 Debtors partially satisfied claim under first day orders on 09/28/23 (Payment No. 553907).

Mouser Electronics                                  N/A            3294079      $        13,004.23 $              11.40 $           12,992.83 Credit with Claimant on Debtors' Books and Records (Invoice No. 74410326).

Navisite LLC                                        N/A            3294087      $        31,368.00 $          5,244.03    $         26,123.97 Credit with Claimant on Debtors' Books and Records (Invoice No. 356917).

Ningbo Yexing Automotive Part Co., Ltd.             N/A            3294091      $       748,164.41 $        595,474.10 $           152,690.31 Debtors partially satisfied claim under first day orders on 10/01/23 in the amount of
                                                                                                                                              $421,616.80 (Payment No. 553946), in the amount of $52,684.56 (Payment No. 553937), and
                                                                                                                                              in the amount of $121,172.74 (Payment No. 553938).
Pailton Incorporated                                N/A            3294104      $         8,100.00   $        2,700.00    $          5,400.00 Credit with Claimant on Debtors' Books and Records (Invoice No.CR0000035884).

Safe Fleet Bus & Rail                               N/A            3294166      $        87,974.96 $         36,568.23 $            51,406.73 Debtors partially satisfied claim under first day orders on 10/04/23 (Payment No. 489669).

Sibros Technologies Inc                             N/A            3294194      $        12,110.50 $          1,510.50    $         10,600.00 Credit with Claimant on Debtors' Books and Records (Invoice No. 3204).

Signatures, Inc.                                    N/A            3294197      $         6,422.85   $          283.63 $             6,139.22 Debtors partially satisfied claim under first day orders on 11/02/23 (Payment No. 490168).

Storm Manufacturing Corporation                     N/A            3294222      $         1,079.60   $            70.34 $            1,009.26 Credit with Claimant on Debtors' Books and Records (Invoice No. 812356).

TE Connectivity Corporation                         N/A            3294234      $        82,935.35 $          3,474.53    $         79,460.82 Credit with Claimant on Debtors' Books and Records (Invoice No. 5852149277).

Toronto Transit Commission                          N/A            3294249      $        21,270.74 $            403.56 $            20,867.18 Credit with Claimant on Debtors' Books and Records (Invoice No. EWC23-2649).

Tritium Pty Ltd                                     N/A            3294259      $        61,287.00 $          8,471.04    $         52,815.96 Credit with Claimant on Debtors' Books and Records (Invoice No. INUS-0001201).

Trugold, LLC                                        N/A            3294262      $           396.24 $            264.16 $               132.08 Debtors partially satisfied claim under first day orders on 11/09/23 (Payment No. 490310).

United Rentals (North America), Inc.                N/A            3294271      $         5,047.36   $        2,447.96    $          2,599.40 Credit with Claimant on Debtors' Books and Records (Invoice No. 222974787-001).
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Unum Life Insurance Company of America             N/A             3294277    $     113,500.15 $         16,954.52 $        96,545.63 Debtors partially satisfied claim under first day orders on 10/24/23 (Payment No. 489956).

Vallen Distribution, Inc.                          N/A             3294285    $      28,763.80 $            183.84 $        28,579.96 Credits with Claimant on Debtors' Books and Records in the amount of $183.84 (Invoice No.
                                                                                                                                      3478487-00, and Invoice No. 3478519-00).
Valley Vista Services Inc.                         N/A             3294286    $      17,019.16 $          5,047.67   $      11,971.49 Debtors partially satisfied claim under first day orders on 10/01/23 (Payment No. 653265).


                                                                                                                       Modified
                                                                      Claim     Administrative                      Administrative
                      Name of Claimant                Date Filed     Number     Claim Amount    Satisfied Amount    Claim Amount                                                  Reason
Border States Industries, Inc.                     11/13/2024      1038       $       25,055.21 $        9,467.70 $       15,587.51 Debtors partially satisfied claim under first day orders on 09/08/23 in the amount of
                                                                                                                                    $3,407.69 (Payment No. 489204), on 10/12/23 in the amount of $3,180.24 (Payment No.
                                                                                                                                    489732), and on 11/09/23 in the amount of $2,879.77 (Payment No. 490224).
Composites One LLC                                 9/13/2023       118        $       48,661.62 $       18,188.48 $       30,473.14 Debtors partially satisfied claim under first day orders on 11/09/23 (Payment No. 490233).

Cromer Food Services, Inc                          8/18/2023       45         $      34,311.16 $          1,116.20   $      33,194.96 Debtors partially satisfied claim under first day orders on 08/25/23 (Payment No. 489138).

Engineered Machined Products, Inc                  10/6/2023       200        $     119,420.00 $         71,900.00 $        47,520.00 Debtors partially satisfied claim under first day orders on 09/19/23 in the amount of
                                                                                                                                      $47,520.00 (Payment No. 489350), and on 09/25/23 in the amount of $24,380.00 (Payment
                                                                                                                                      No. 489438).
Euler Hermes Agent for USSC Group, Inc.            10/24/2023      467        $      55,452.34 $         19,211.00 $        36,241.34 Debtors partially satisfied claim under first day orders on 07/21/23 (Payment No. 489046).

Gigavac, LLC                                       11/13/2023      1095       $      80,459.00 $         65,419.65 $        15,039.35 Debtors partially satisfied claim under first day orders on 10/19/23 in the amount of
                                                                                                                                      $25,399.20 (Payment No. 489865), and on 11/09/23 in the amount of $40,020.45 (Payment
                                                                                                                                      No. 490256).
GS Operating, LLC D/B/A Gexpro Services            11/9/2023       1053       $     386,825.50 $          6,023.11   $     380,802.39 Debtors partially satisfied claim under first day orders on 10/12/23 in the amount of $556.52
                                                                                                                                      (Payment No. 489754). Additionally, there are credits with the claimant on the Debtors'
                                                                                                                                      Books and Records in the amount of $5,466.59 (Invoice No. 2023/CUSTCN000000648, Invoice
                                                                                                                                      No. 2023/CUSTCN000000691, Invoice No. 2023/CUSTCN000001439, Invoice No.
                                                                                                                                      23US0706136, Invoice No. 23US0715985, Invoice No. 23US0737054, and Invoice No.
                                                                                                                                      23US0740081).
Industrial Rubber Supply USA Inc                   8/31/2023       71         $      32,371.18 $            600.00 $        31,771.18 Debtors partially satisfied claim under first day orders on 11/16/23 (Payment No. 490380).

Mcclarin Plastics, LLC D/B/A Mcclarin Composites   11/8/2023       880        $      76,759.17 $        21,597.44 $         55,161.73 Debtors partially satisfied claim under first day orders on 11/09/23 (Payment No. 490232).

Northern Cable and Automation LLC                  9/5/2023        84         $     153,989.60 $         11,560.00 $       142,429.60 Debtors partially satisfied claim under first day orders on 09/08/23 (Payment No. 489212).

NSK Industries, Inc.                               10/26/2023      531        $      22,307.00 $            285.00 $        22,022.00 Debtors partially satisfied claim under first day orders on 09/08/23 (Payment No. 489225)

Salesforce, Inc.                                   11/7/2023       842        $     314,739.14 $       284,563.28 $         30,175.86 Debtors partially satisfied claim under first day orders on 11/09/23 in the amount of
                                                                                                                                      $7,848.00 (Payment No. 490294), and on 11/16/23 in the amount of $143,653.57 (Payment
                                                                                                                                      No. 490417). Additonally, there is a credit with the claimant on the Debtors' Books and
                                                                                                                                      Records in the amount of $133,061.71 (Invoice No. 10020000189111).
Silicon Forest Electronics, Inc.                   9/29/2023       179        $     217,033.00 $         31,097.00 $       185,936.00 Debtors partially satisfied claim under first day orders on 09/01/23 (Payment No. 553827).

Vaughn Belting Co., Inc.                           10/24/2023      463        $      22,639.55 $            188.64 $        22,450.91 Debtors partially satisfied claim under first day orders on 11/09/23 (Payment No. 490315).




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